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COMMAND LEVEL
INSTRUCTOR’S GUIDE

 

LEGAL ISSUES
(RNC)

P()LICE ACADEMY 15-2004

 

 

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CYCLE:

LESSON:

TIME ALLOTTED:

METHOD:

PREPARED BY:

POLICE ACADEMY
ADVANCED LEVEL TRAlNlNG UNIT
COMMAND LEVEL TRAlNlNG
J UNE 2004

15-2004

LEGAL lsSUES
(REPUBLchN NATloNAL
CONVENTION)

TWENTY (20) MIN UTES

LECTURE/DISCUSSION

COMMAND LEVEL TRAlNlNG

SPEClAL THANKS TO CAPT. SWEET AND THE LEGAL BUREAU FOR THEIR
ASSISTANCE lN THE PREPARATlON AND PRESENTATION OF THIS LESSON

PLAN .

NEW YORK CITY POLICE DEPARTMENT POLICE ACADEMY, JUNE 2004.

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YORK ClTY POLICE DEPARTMENT.

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LESSON COVER SHEET

 

COURSE: COMMAND LEVEL
TRA|N|NG

TRA|NEE LEVEL:
M.O.S ASS|GNED TO COMMANDS

 

LEssoN; LEGAL lssuEs
REPUBL|CAN NATloNAL
CoNvENTloN (RNC)

TlME REQU|RED: 20 M|NS.

 

 

PREPARED BY: P.O. RA|V||REZ

DATE PREPARED: JUNE 2004

 

REV|SED BY:

 

DATE REV|SED:

 

 

lNSTRUCTlONAL GOAL: TH|S LESSON |S DES|GNED TO G|VE ME|V|BERS OF
THE SERV|CE A REV|EW OF LEGAL |SSUES RELEVANT TO THE REPUBL|CAN

NAT|ONAL CONVENT|ON.

 

PERFORMANCE OBJECT|VES:

AT THE CONCLUS|ON OF TH|S LESSON, THE PART|C|PANTS W|LL BE ABLE TO:
l. Deiine permissible limitations on First Amendment Rights.
2. ldentify different locations used for demonstrations: Public vs. Private Property and

spontaneous demonstration sites.

3. ldentify demonstrators’ tactics and types of conduct.
4. ldentify the arrest procedures at the RNC.
5. Review applicable NYS Penal Law offenses.

 

METHOD OF PRESENTAT|ON:
LECTURE/D|SCUSS|ON

 

CLASSROOM REQU|REMENT:
NONE

 

 

STUDENT MATER|ALS:
N/A

 

 

TRA|N|NG AlDS, SUPPL|ES,
EQU|PMENT:

 

BlBLlOGRAPHY:
LEGAL GU|DEL|NES FOR THE RNC
BOOKLET

 

 

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lNTRODUCTlON

The Republican National Convention (RNC) will take place at Madison Square
Garden in New York City from August 30 through September 2, 2004. ln addition, there
will be several RNC related events held at various venues through the city.

T he following information is provided in an effort to increase preparedness and
provide additional tactical knowledge to those officers who may be assigned to details
during the impending RNC events.

At the conclusion of this lesson, participants will be able to:
l. Define permissible limitations on First Amendment Rights.

2. ldentify different locations used for demonstrations: Public vs. Private Property
and spontaneous demonstration sites.

3. ldentify demonstrators’ tactics and types of conduct.
4. ldentify the arrest procedures at the RNC.
5. Review applicable NYS Penal Law offenses.

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TERMlNAL PERFORMANCE OBJECTlVE # 1

PERMISSIBLE LIMITATIONS ON FIRST AMENDMENT RIGHTS
(a) Restrictions on Speech Alone

With few exceptions, a person may w anything he or she wants, no matter how
offensive. The role of the police, as a neutral party, is to protect the speaker's right to
"spread the message."

Police personnel must remember that the speech in question must w urge violence Ld
present a clear and present danger to the public safety. ln other words, it must appear
likely that the group addressed by the speaker is about to engage in violent conduct. The
speaker must show intent to stir the group to immediate violent action and the group must
be aroused to the point where violent conduct is imminent.

As illustrated by the Inciting to Riot statute, the police are allowed more freedom in
regulating speech that also advocates violent conduct. In such cases, because of the
danger presented, the police may take immediate action to stop the speech itself.

 

(b) Restrictions on Conduct

Unlike restrictions on speech alone, the police have much greater authority to impose
restrictions on conduct that is coupled with speech. A typical demonstration where
protesters are asked to stand inside a designated "demonstration area" is an example of a
restriction on how a demonstration is conducted. These restrictions are also referred to
as "time, place and manner" restrictions.

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The general rules for imposing such restrictions are as follows:

(1)

(2)

(3)

THE POLICE REGULATION MUST BE "CONTENT
NEUTRAL".

"Content neutrality" means that the group or individual's message
may w be a factor in deciding how a demonstration is to be
regulated.

THE REGULATION MUST BE NARROWLY TAlLORED
TO MEET A SlGNlFlCANT GOVERNMENT lNTEREST.
Potential physical dangers to the public, not ideas, may provide the
basis to impose restrictions on First Amendment activities. In
addition, any regulation of a demonstration must not unnecessarily
burden a group's or individual's right to speak in a public forum.
The police should ensure that restrictions on a demonstration are
the minimum necessary to meet an important and legitimate
governmental interest, such as the movement of trach and
pedestrians.

THE REGULATlON MUST ALLOW AMPLE
ALTERNATlVE MEANS FOR COMMUNICATION OF
THE SPEAKER'S MESSAGE.

While the police may employ reasonable time, place and manner
restrictions, peaceful demonstrators ordinarily must be allowed to
be within sight and sound of the object or focus of their protest.

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TERMlNAL PERFORMANCE OBJECTlVE # 2

LOCATIONS OF DEMONSTRATIONS:
PUBLIC VS. PRlVATE PROPERTY

The degree to which the conduct of demonstrations may be regulated is also directly
related to the public nature of the area where the demonstration is to be held. Generally,
the more public the area, the greater the right to demonstrate. There are four general areas
at which demonstrations may occur at the Republican National Convention:

(a) Public streets, such as the streets and sidewalks surrounding the
Convention site, hotels and event gathering locations

(b) Public property which is open to the public, such as parks and open plazas

(c) Public property not open to the public, such as railroad tracks and
restricted areas of Penn Station

(d) Private property, such as the interior of Madison Square Garden and
Penn Plaza

(a) Public Streets

A strong governmental interest must be established before a demonstration on public
streets may be restricted. Inconvenience to the public, without more, is not an adequate
reason to restrict a demonstration. Instead, there must be a showing that the
demonstration will substantially impede the free movement of pedestrians and/or
vehicles. Any limitations imposed must be minimal and consistent with a concern for
public safety. The number of demonstrators can be limited, or the location of the
demonstration can be moved if justified by governmental interests that outweigh the
right to conduct a demonstration. lt would be almost impossible, however, to justify a
restriction that entirely prohibits a peaceful demonstration on public streets.

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(b) Public Proper_ty Open to the Public
First Amendment rights may be exercised on public property that is open to the public.

Such areas include parks, open plazas, transportation facilities such as Penn Station and
the subways stations.

People may lawfully enter and remain in areas open to the public, i.e. lobbies and
hallways. The police may only take action against such people after a person in control of
the premises personally communicates to the offender(s) that the privilege to remain in
the building has been revoked. Warnings should be read by the authorized agent as well
as by the police.

(c) Public Proper_ty N ot Open to the Public

A person has no right to demonstrate on public property that is not open to the general
public. Examples of such areas include government offices and public schools.

(d) Private Proper_ty
The New York Court of Appeals has ruled that individuals do not have a right to exercise

First Amendment rights on private property. A private property owner may arbitrarily
deny access to any individual or group. T here is no First Amendment right to
demonstrate inside Madison Square Garden during the Convention.

(e)Spontaneous Demonstrations
We can expect to see spontaneous demonstrations at the scene of the RNC as well as

other locations throughout the city. Our goal is not to prevent them entirely, if we can
accommodate them safely. We can work with these organizations in order to put them in
locations where they can have “sight and sound.” (Demonstrators have the right to be
seen and see the object of the demonstration as well as to be heard by the object of their
demonstration). However, we must preserve our right to maintain security and order.
When a Police Offlcer sees a spontaneous demonstration he or she must:

(a) Notify your supervisor

(b) Note the number of demonstrators and their direction of travel

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TERMINAL PERFORMANCE OBJECTIVE #3

DEMONSTRATOR TACTICS/SPEClFlC TYPES OF CONDUCT**

Most demonstrators gather to engage in the lawful expressions of their First Amendment
rights. However, some protestors and activists will utilize a wide spectrum of well
prepared tactics calculated to create chaos, injure police officers and disrupt the rights of
others assembling and expressing contrary opinions. The following is a brief list of
tactics used by these extremists in the past events throughout the country:

(a) Masks

A federal appeals court has recently held that Penal Law 240.35 (4), Loitering (while
masked), i_s constitutional and g be enforced against persons so gathered. Therefore,
when persons congregate in a public place with at least two others similarly disguised or
masked, they may be charged with Penal Law 240.35 (4), Loitering.

(b) Lock Downs

Protestors may secure themselves via chains, locks and improvised devices to other
persons or fixed objects to inhibit venue access or to block transportation routes.

(1) Kg(gtonite Locks
The use of kryptonite locks to secure persons to vehicles, fixed,

objects or other persons is prevalent in protest activities. Note that
users of the kryptonite lock were most often found to be in possession
of a release key, though they professed not to have one on their person.

(2) Concrete Sleeves And "S|eeg'ng Dragons"

T hese are made of steel or PVC piping, reinforced with concrete and
metal wiring to make removal difficult. A securing device is located
within the sleeve. Upon insertion, handcuffs, carabineers, or locks are
threaded through the sleeve, and attached to either another concrete
sleeve in a human chain or to a fixed object. In most cases, the
individual has the ability to release the device and may use
dismantling attempts by officers as evidence of police abuse.

NOTE: Members of the service who encounter such devices should not make any
attempt to remove a demonstrator from it without specific direction of a captain or above.
Sleeping dragons are usually rigged with elements like chicken wire that can cause
serious physical injury to the violators or police officers if attempts are made to free the
violators. Extreme care and caution should be exercised.

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(c) Carrying Objects

Where an object has the potential to be used as a weapon (e.g. , a wooden pole with a sign
attached, a bat), or to delay or obstruct the police from arresting or removing
demonstrators from the scene (e.g., sleeping dragons, chains), the police may prohibit
people from carrying it during the demonstration.

(d) Hanging Signs or Banners
Penal Law section 145.30(1), Unlawfully Posting Advertisements

(e) Use of Sound Devices
Administrative Code §10-108 governs the issuance and use of sound devices in a public
place. A permit is required in order to use or operate a sound device in a public place.

NOTE: The person using the sound device should first be warned that doing so is a
violation of the law. lf he or she continues to use the device following the warning, he or
she may be summonsed and the sound device may be seized and vouchered as evidence.
Actual use and operation of the device constitutes a violation, but mere possession is n_ot
a violation.

(f) Flag Burning

The U.S. Supreme Court has ruled that the act of burning the American flag is protected
by the First Amendment; New York State General Business Law §136, which prohibits
burning, defacing, defiling, or trampling on the American flag, may n_ot be enforced.

Section 27-4249 of the Administrative Code prohibits, with limited exceptions, the
igniting or maintaining of an open fire anywhere within New York City. Members of
the service have a duty to prevent the burning of any material, including flags, if the fire
poses a legitimate danger to persons or property.

A summons for this offense, made returnable to Criminal Court, will be issued M
when the fire created by the burning flag poses an imminent danger to persons or
property. Summonses for open fires will be issued M with the approval of a ranking
officer. The summons must contain very specific language in the violation description
section that demonstrates the danger posed by the open flame. lnformation should include
the following:

¢ The direction of the flame; and

o The number of persons or establishments threatened or affected by the
fire;

¢ A description of the size of the burning item;

o T he proximity of the ashes, smoke, or flame to other persons or
objects, and the likelihood of the ashes, smoke, or flame spreading and
creating a dangerous condition.

0 Whether accelerants were used to ignite the flag.

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(g) Swarming/Critical Mass
Swarming is quickly massing a large number of individuals from all directions onto a
single position in order to attain a specific goal.

(h) Bicycle Groups
Bicycle Groups ride in masses effectively slowing down or blocking streets and bridges;
the ride may conclude with a rally staged in a major intersection.

ln addition the following NYC Traffic Rules regarding bicycles are noteworthy:

4-02 (a) - Compliance with and Ef`fect of Traffic Rules. .

4-07 (c)(3)(i) - Restrictions on crossing sidewalks. Driving bikes on
sidewalks is prohibited unless sign allows.

4-08 (e)(9) - Stopping, standing and parking prohibited

4-12 (e) - Driver's hand on steering device.

(i) Shield Wall

Armed with shields, marchers may move with linked arms, creating a defensive wall to
safely approach a target or perimeter line and commit direct actions like the launching of
projectiles.

(i) Human Chains
Human Chains are accomplished by interlocking arms, legs and bodies to block vehicle
and pedestrian traffic.

Participants may be subject to arrest under the New York State Penal Law, Section
240.20 Disorderly Conduct.

(k) lmprovised Barricades/Tripods

lmprovised Barricades are constructed from available materials such as jersey barriers,
fencing, dumpsters, bus shelters, stolen construction equipment or any other non-secured
materials in the area.

(l) Target ldentif`ication

Target ldentification/Tagging a Target occurs when a specific location or place is marked
or “tagged” with a pre-determined symbol (often the anarchist logo) to indicate where the
action should take place.

(m) “Marching Bands”
“Marching Bands” in the context of mass demonstrations refer to groups of protestors
who are carrying and playing musical instruments.

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(n) Accusations of Police Misconduct

Accusations of Police Misconduct are often used by protestors to avoid arrest and to gain
the sympathy of the media and bystanders. Protestors will lie in front of police cruisers
and horses, claiming to be intentionally struck by the officers. Homemade pepper spray
and smoke bombs may be introduced during confrontations to simulate the police
discharge of such crowd dispersal agents. Some have impersonated police officers and
assaulted other protestors, resulting in false claims of police misconduct and brutality.

Video Units should be requested to assist in the documentation and preservation of
evidence which may later be required for judicial proceedings. Penal Law, Section
240.50, Falsely Reporting an lncident in the 3rd degree, may be pursued. ln addition,
Administrative Code 14-107, Unlawful Use of Police Uniform or Emblem, may be
appropriate.

(o) Projectile Launches

Rocks, paving stones, bottles, batteries, ball bearings, nuts and bolts, billiard and golf
balls, hockey pucks, nail-filled potatoes and other objects are used as projectiles,
primarily targeting law enforcement officers.

(p) Toxic and Flammable Liquids

Bodily fluids and toxic commercial liquid products have been sprayed at or thrown upon
law enforcement officers during protest events. Blood, urine and feces, as well as
ammonia, bleach, battery acid, glass etching solution/hydrofluoric acid, gasoline, paint,
and magnesium are dispelled via spray and squirt bottles, super soakers, canteens, zip-
lock bags, hollowed eggs and balloons, and have, in some cases, caused personal injury
to responding police personnel.

(q) Battering/Takedowns
(r) False 911 Calls / Bomb Threats / Fire Alarms

(s) Suspicious Packages and Hoax Devices

These are used to disrupt proceedings and to tax public safety resources. ln rendering
safe operations, police often require venue evacuation, which redirects manpower and
can leave secondary target areas open. Boxes of clocks and gallon jugs of clear liquids
embedded in electrical circuit boxes are some examples of hoax devices used by
protestors.

(t) Electrical Disruption

Protestors may attempt to disrupt electrical service to venue buildings, hotels and meeting
places. Mylar helium balloons filled with metal shavings have been launched towards
electrical power lines.

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(u) Smoke and Stink Bombs
T hese may be discharged at or in the vicinity of the venue to disrupt proceedings or
prompt the evacuation of the site.

(v) Property Vandalism, Thef`t and Destruction

(w) Graff`iti

Graffiti stickers and graffiti are often posted in protest areas to promote acts of property
vandalism and destruction. Bearing slogans and symbols, graffiti may also serve as
identification of a site targeted for further action.

(x) Hassling Principals/lnflammatory Protest Materials
Protesters will engage in verbal and physical altercations with event principals
and delegates.

(y) Arson and Firebombing

Protest extremists employ a variety of incendiary devices to commit both acts of arson
and personal injury. lmprovised devices, such as Molotov cocktails and chains wrapped
in kerosene-soaked rags launched by oversized slingshots, have been increasingly utilized
at protest events.

(z) Anti-Police Obstacles

Anti-police obstacles have been used to hinder foot and motorcycle response. Fuel drums
filled with water or cement have been rolled into police formations; streets have been
slicked with oil to dismount motorcycle personnel; and clear cord, yarn, string or fishing
line has been suspended across streets at both neck and ankle level to disable foot and
motorcycle police personnel.

(aa) Anti-Horse Actions/Caltrops

Protestors have crowded mounted patrol units to limit incident response, and wire has
been strung at ground level to trip horses. Caltrops are metal devices with four projecting
spikes placed on the ground and used to injure police horses or puncture tires.

(bb) Anti- Pepper Spray Actions

Anti- Pepper Spray actions have been developed to counter the effects of pepper spray.
Gas masks and hoods and homemade neutralizers like vinegar are used to negate the
effects of these agents.

(cc) Police Communications lnterference
Protesters have discussed various methods to block police communications, and j amming
devices are readily available via retail stores and lnternet outlets.

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(dd) Passive Resistance

Several forms of passive resistance have gained popularity among protestors. Traditional
passive resistance, where the protestor becomes completely limp and provides no
assistance in movement, effectively taxes police resources during arrest and dispersal. A
person who merely fails to provide assistance upon being arrested is n_ot resisting arrest.
However, if a protester needs to be carried from a public roadway or sidewalk during the
arrest process in an effort to prevent the police from reopening traffic, charges of Penal
Law Section 195.05, Obstructing Governmental Administration in the Second Degree, is
appropriate.

(ee) Prisoner Transport lnterference
Prisoner transport vehicles may be blocked or surrounded by demonstrators attempting to
release the arrestees or to display unity with and support for their counterparts.

(ff) Trojan Horses / Puppetry
These are large parade puppets used to store and conceal implements of crime such as
improvised weapons, sleeping dragons, tri-pods and other devices.

GENERAL TYPES OF CONDUCT

Distinguishing between protected First Amendment activity and criminal conduct is often
difficult. Many demonstrators are cooperative with the police and cause few problems.
Others, however, are less agreeable and engage in conduct that pushes to the limit the
delicate balance between the right to demonstrate and public safety. Listed below are
examples of such conduct and the general rules for police to observe.

(a) Words Directed Toward the Police

Police officers are often the targets of criticism at demonstrations, and it is not unusual
for the police to be the target of chanted curses and personal insults. While
understandably difficult, it is important for police officers not to react to such criticism.

(b) Leaf'leting

Handing out leaflets in a public place is protected by the First Amendment. Leafleting is
not a violation of the law unless the individual distributing the leaflets prevents
pedestrians from using the sidewalk, leaving or entering a building, or follows a person in
or about a public place with the intent to harass or annoy him.

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(c) Carrying Signs or Objects

Like leafleting, the carrying of signs or objects at a demonstration is protected First
Amendment activity. However, where it can be shown that the object carried, (i.e. a
wooden pole with a sign attached or a bat), has the potential for being used as a weapon,
the police may prohibit the carrying of the object during the demonstration.

(d) Use of Sound Devices

The issuance and use of sound devices in a public place is governed by the
Administrative Code, Section 10-108. A permit is required in order to use or operate a
sound device in a public place. A summons may be issued if a person at a demonstration
uses a bullhorn or similar sound amplification device without a permit.

(e) Onlookers at the Scene of Arrests

When an officer stops, detains, or arrests a person in a public place, other persons who
happen to be in the area may remain in the vicinity of the stop or arrest. This right to
observe is limited by reasons of safety and disruptions to the police action.

(f) Media Access to Demonstrations

To the extent it is feasible to do so, (e.g. unless safety interests or proper performance of
police duties requires otherwise), the media's access to demonstrations should not be
impeded. At a minimum, media personnel should be afforded the same access provided
to the general public. ln addition, media personnel may enter demonstration areas. The
media is to be given access as close to the demonstration as possible, with a clear line of
sight and within hearing range of the activity.

**WEBSITES TO IDENTIFY PROTEST GROUPS AND PLANS:

RNCNOTWELCOME.ORG
PEOPLESLAWCOLLECTIVE.ORG
UNITEDFORPEACE.ORG

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TERMINAL PERFORMANCE OBJECTIVE#4

ARREST PROCEDURES AT THE RNC

(a) Before arrests are made, it is important to document the circumstances resulting in
the arrest. Obviously, for spontaneous acts of criminality, this may be difficult.
However, where possible, note all reasons for limiting the individual's First
Amendment rights prior to arrest (the nature and location of the demonstration,
the public safety and security concerns implicated, obstruction to vehicular and
pedestrian traffic, crowd and trach conditions, plans for special events, etc.).

(b) Arresting officers and members of arrest teams must carefully observe the
conduct of the demonstrators before an arrest is made.

(c) Supervisors must insure that arresting officers are in a position to observe the
unlawful conduct of the individual arrested and articulate the elements of the
offense committed.

lSSUANCE OF SUMMONSES & DESK APPEARANCE TlCKETS

Most offenses related to First Amendment activity constitute violations or misdemeanors.
Typically, such arrests are for Disorderly Conduct and possibly Trespass. The additional
charges of Obstructing Governmental Administration and Resisting Arrest, though
misdemeanors, no longer qualify for DATs. The Criminal Procedure Law and
Department policy require the issuance of summonses or desk appearance tickets
("DATs") to violators who are arrested for summonsable or DATable offenses and who
otherwise qualify (proper identification and “no hits” on warrant checks).

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ARREST PROCESSING

Arrests made should be processed in accordance with mass arrest guidelines established
for the Republican National Convention.

T he following guidelines will be used:

l. Two Polaroid photos must be taken of MOS and Defendant together.

2. Mass arrest pedigree labels must be filled out with arrest information and placed
on rear of Polaroid photos.

3. Transport defendant to TRIAGE area. Upon conclusion, transport to MASS
ARREST PROCESSING CENTER AT ONE POLICE PLAZA.

4. Prepare OLBS WORKSHEET, DAT lNVESTlGATlON SHEET and any
VOUCHERS for safekeeping property or evidence.

5. Arresting Officer will then be directed to respond to Manhattan District
Attorney’s Off`ice at 100 Centre Street.

6. Once you have sworn out the affidavit at the D.A.’s Office, you have completed
the arrest processing requirement and can be returned to your detail or dismissed
as per your command.

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TERMlNAL PERFORMANCE OBJECTIVE #5
RELATED NYS PENAL LAW OFFENSES

120.20 RECKLESS ENDANGERMENT (Second Degree, “A”
Misdemeanor)

A person is guilty of Reckless Endangerment in the Second Degree when he

recklessly engages in conduct which creates a substantial risk of serious physical

injury to another person.

140.05 TRESPASS (Violation)
A person is guilty of Trespass when he knowingly enters or remains unlawfully in
or upon premises. “Premises” is defined as a building and any real property.

A person is presumed to have remained unlawfully when he disregards a
personally communicated order to leave, issued by the owner in charge of the
premises or his designated representative.

Whenever possible, the Department should secure in advance a verbal or written
commitment from the property owner to act as a complainant in the event arrests
are made.

140.10 CRlMlNAL TRESPASS (Third Degree, “B” Misdemeanor)

A person is guilty of Criminal Trespass in the Third Degree when he knowingly

enters or remains unlawfully in a building which is fenced in or otherwise
enclosed in a manner designed to exclude intruders.

195.05.1 OBSTRUCTING GOVERNMENTAL ADMINISTRATION
(Second Degree, “A” Misdemeanor)

A person is guilty of Obstructing Governmental Administration (OGA) when he

intentionally obstructs, impairs, or prevents the administration of law or other

government function or prevents or attempts to prevent a public servant from

performing an official function by means of intimidation, physical force, or

interference, or by means of any independent unlawful act.

A person who blocks pedestrian or vehicular trach and attaches himself or herself
to other persons or property by means of chains or “sleeping dragons” or
otherwise has to be carried from the location by the police may be charged with
OGA.

In such cases, the person is intentionally preventing the police from clearing the
Sidewalk or roadway and restoring orderly pedestrian or vehicular trach flow by
means of physical interference Thus, OGA is an appropriate charge.

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205.30 RESISTING ARREST (“A” Misdemeanor)

A person is guilty of Resisting Arrest when he intentionally prevents or attempts
to prevent a police officer or peace officer from effecting an authorized arrest of
himself or another person.

The suspect must either be under arrest or in the process of being arrested at the
time of the resistance. A person who has not been previously placed under
arrest but who is fleeing from an officer is n_ot resisting arrest, even if the officer
is shouting at the suspect to stop. He can be charged with Obstructing
Govemmental Administration. Minor acts of non-cooperation should not result in
a charge of resisting arrest.

Verbal disagreement or abuse is n_ot resisting arrest unless accompanied by some
form of physical conduct calculated to prevent or impede arrest.

240.05 RIOT (Second Degree, “A” Misdemeanor)

A person is guilty of Riot in the Second Degree when, simultaneously with four
or more other persons, he engages in tumultuous and violent conduct and thereby
intentionally or recklessly causes or creates a grave risk of causing public alarm.

The attempt to riot need not be successful for a lawful arrest, and it is n_ot
necessary to arrest five people. All that is required is evidence that the defendant
acted with at least four others who also engaged in tumultuous and violent
conduct.

Mere presence is not sufficient; the arrested party must have participated in some
manner in the conduct, and there must have been at least four other people
engaging in the conduct as part of the same group. The phrase “tumultuous and
violent conduct” means more than loud noise or ordinary disturbance It is
designed to connote frightening mob behavior involving real and immediate
threats of injury.

Clear examples are bottle throwing, stone throwing and smashing windows.

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240.06 RIOT (First Degree, “E” Felony)
A person is guilty of Riot in the First Degree when:

0 Simultaneously, with ten or more other persons he engages in tumultuous
and violent conduct and thereby intentionally or recklessly causes or
creates a grave risk of causing public alarm; m

0 In the course of and as a result of such conduct, a person other than one of
the participants suffers physical injury or substantial property damage
occurs.

Like Riot in the Second Degree, all persons charged with Riot in the First Degree
must actively participate in the mob behavior.

240.08 INCITING TO RIOT (“A” Misdemeanor)
A person is guilty of Inciting to Riot when he urges ten or more persons to
engage in tumultuous and violent conduct.

In addition to the elements listed in the statute, the following factors must exist
before making an arrest for Inciting to Riot:
» The speaker must address a specific group of ten or more persons;
0 The speaker must show an intent to stir the group to immediate violent
action;
0 The group must in fact be aroused.

NOTE: Inciting to Riot is a difficult crime to prove, particularly if the
speaker is arrested before any violent conduct results. Thus, it is especially
important to be able to document all statements made and circumstances
surrounding the incident.

240.10 UNLAWFUL ASSEMBLY (“B” Misdemeanor)

A person is guilty of Unlawful Assembly when he assembles with four or more
other persons for the purpose of engaging or preparing to engage with them in
tumultuous and violent conduct likely to cause public alarm, or when, being
present at an assembly which either has or develops such purpose, he remains
there with intent to advance that purpose.

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240.20 DISORDERLY CONDUCT (Violation)
A person is guilty of Disorderly Conduct when, with intent to cause public
inconvenience, annoyance or alarm, or recklessly creating a risk thereof:

1. He engages in fighting or in violent, tumultuous or threatening
behavior;

2. He makes unreasonable noise;

3 In a public place, he uses abusive or obscene language or makes an

obscene gesture;
a. NOTE: Look at the context in which the language is being used,
i.e., the words and conduct are intended to create a public
disturbance.
4. Without lawful authority, he disturbs any lawful assembly or
meeting of persons;
He obstructs vehicular or pedestrian traffic;
He congregates with other persons in a public place and refuses to
comply with a lawful order of the police to disperse;
7. He creates a hazardous or physically offensive condition by an act
which serves no legitimate purpose.

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240.26 HARASSMENT IN THE SECOND DEGREE (Violation)
A person is guilty of Harassment in the Second Degree when, with intent to
harass, annoy, or alarm another person:
0 He or she strikes, shoves, kicks, or otherwise subjects such other
person to physical contact, or attempts or threatens to do the same;
0 He or she follows a person in or about a public place;
He or she engages in a course of conduct or repeatedly commits acts
which alarm or seriously annoy such other person and which serve
no legitimate purpose.

NOTE: While the subdivision of Harassment relating to abusive or obscene
conduct directed at a person has been declared unconstitutional and deleted from
this section, Penal Law 240.20(3), Disorderly Conduct, remains viable. That
section outlaws using abusive or obscene language or making an obscene gesture
in a public place with intent to cause public inconvenience, annoyance or alarm.

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240.35 LOITERING (Violation)

A person is guilty of Loitering when he or she is masked or in any manner
disguised by unusual or unnatural attire or facial alteration and loiters, remains or
congregates in a public place with other persons so masked or disguised, or
knowingly permits or aids persons so masked or disguised to congregate in a
public place.

In order for there to be a violation of this section, the violator must be
accompanied by at least two other persons similarly dressed or disguised.

145.60 MAKING GRAFFITI (“A” Misdemeanor)

A person is guilty of Making Graffiti by etching, painting, covering, drawing
upon, or otherwise placing a mark upon public or private property with intent to
damage such property. Graffiti is illegal without the express permission of the
owner or operator of the property.

145.65 POSSESSION OF GRAFFITI INSTRUMENTS
(“B” Misdemeanor)
A person is guilty of Possession of Graffiti Instruments when he possesses an
article commonly used to etch, paint, cover, draw upon, or otherwise place a mark
upon a piece of property:
0 When that person has no permission or authority to do such; and
0 Under circumstances evinces an intent to use instrument to damage such

property.

Glue and posters can be considered graffiti instruments.

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145.05 CRIMINAL MISCHIEF, FOURTH DEGREE
(“A” Misdemeanor)

A person is guilty of Criminal Mischief in the Fourth Degree when, having no
right to do so nor any reasonable ground to believe that he has such a right, he:
0 Intentionally damages property of another person;
0 Intentionally participates in the destruction of an abandoned building;
0 Recklessly damages property of another person in an amount exceeding
$250.

145.10 CRIMININAL MISCHIEF THIRD DEGREE (“E” Felony)
A person is guilty of Criminal Mischief in the Third Degree when, having no right
to do so nor any reasonable ground to believe that he has such a right, he or she:

0 Damages the motor vehicle of another person, by breaking into it when it is
locked, with the intention of stealing property, and within the previous ten
year period, has been convicted three or more times, in separate criminal
transactions for which sentence was imposed on separate occasions, of
criminal mischief in the fourth degree, third degree, second degree, or first
degree;

0 Damages property of another person in an amount exceeding $250.

145.10 CRIMINAL MISCHIEF SECOND DEGREE (“D” Felony)

A person is guilty of Criminal Mischief in the Second Degree when with intent to
damage property of another person, and having no right to do so nor any
reasonable ground to believe that he has such right, he damages property of
another person in an amount exceeding $1,500.

145.12 CRIMINAL MISCHIEF FIRST DEGREE (“B” Felony)

A person is guilty of Criminal Mischief in the First Degree when with intent to
damage property of another person, and having no right to do so nor any
reasonable ground to believe that he has such right, he damages property of
another person by means of an explosive.

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